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 6
   [Proposed] Lead Counsel for Plaintiff
 7
 8
                         UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                SOUTHERN DIVISION
11
   AMRAM GALMI, Individually and on )           Case No. 2:16-cv-08259-TJH-AS
12 Behalf of All Others Similarly Situated, )
                                            )   CLASS ACTION
13                          Plaintiff,      )
                                            )   DECLARATION OF DANIELLE S.
14       vs.                                )   MYERS IN SUPPORT OF MOTION
                                            )   FOR CONSOLIDATION,
15 TEVA PHARMACEUTICALS                     )   APPOINTMENT AS LEAD
   INDUSTRIES LIMITED, et al.,              )   PLAINTIFF AND APPROVAL OF
16                                          )   LEAD PLAINTIFF’S SELECTION OF
                            Defendants. )       LEAD COUNSEL
17                                          )
18                                              DATE:      February 6, 2017
                                                TIME:      UNDER SUBMISSION
19                                              CTRM:      9B
                                                JUDGE:     Hon. Terry J. Hatter Jr.
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 1           I, DANIELLE S. MYERS, declare as follows:
 2           1.    I am an attorney duly licensed to practice before all of the courts of the
 3 State of California and this Court. I am a member of Robbins Geller Rudman &
 4 Dowd LLP, proposed lead counsel for proposed lead plaintiff TIAA in the above-
 5 captioned action.1      I make this declaration in support of TIAA’s Motion for
 6 Consolidation, Appointment as Lead Plaintiff and Approval of Lead Plaintiff’s
 7 Selection of Lead Counsel. I have personal knowledge of the matters stated herein
 8 and, if called upon, I could and would competently testify thereto.
 9           2.    Attached are true and correct copies of the following exhibits:
10           Exhibit A: Notice of pendency of class action published in PR Newswire, a
11                        widely circulated national business-oriented publication or wire
12                        service, on November 6, 2016;
13           Exhibit B:   TIAA’s Certification;
14           Exhibit C:   TIAA’s loss estimate; and
15           Exhibit D: Robbins Geller Rudman & Dowd LLP firm résumé.
16           I declare under penalty of perjury under the laws of the United States of
17 America that the foregoing is true and correct.
18 DATED: January 5, 2017
19
                                                          s/ Danielle S. Myers
20                                                       DANIELLE S. MYERS
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     1
      TIAA collectively refers to TIAA-CREF Funds (including the TIAA-CREF
25 International Equity Index Fund, TIAA-CREF Large-Cap Growth Fund, TIAA-CREF
   Enhanced International Equity Index Fund and TIAA-CREF Growth & Income Fund),
26 TIAA-CREF Life Funds (including the TIAA-CREF Life Growth Equity Fund and
   TIAA-CREF Life Growth & Income Fund), and College Retirement Equities Fund
27 (including the CREF Stock Account, CREF Global Equities Account and CREF
   Growth Account).
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1                                 CERTIFICATE OF SERVICE
2            I hereby certify that on January 5, 2017, I authorized the electronic filing of the
3 foregoing with the Clerk of the Court using the CM/ECF system which will send
4 notification of such filing to the e-mail addresses denoted on the attached Electronic
5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
6 document or paper via the United States Postal Service to the non-CM/ECF
7 participants indicated on the attached Manual Notice List.
8            I certify under penalty of perjury under the laws of the United States of America
9 that the foregoing is true and correct. Executed on January 5, 2017.
10                                                  s/ Danielle S. Myers
                                                    DANIELLE S. MYERS
11
                                                    ROBBINS GELLER RUDMAN
12                                                        & DOWD LLP
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